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 7
 8                        UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10
      Patrick Spreter, individually and on                   Case No: '18CV0540 BEN JMA
11
      behalf of all others similarly
12    situated,                                              CLASS ACTION
13
                              Plaintiff,                     COMPLAINT FOR DAMAGES
14                                                           AND INJUNCTIVE RELIEF
      v.                                                     PURSUANT TO THE
15
                                                             TELEPHONE CONSUMER
16    Lyft, Inc.,                                            PROTECTION ACT
                                                             47 U.S.C. § 227 ET. SEQ.
17
                              Defendant.
18
                                                             JURY TRIAL DEMANDED
19
20
21                                            INTRODUCTION
22   1.    Patrick Spreter (“Plaintiff”) bring this Class Action Complaint for damages,
23         injunctive relief, and any other available legal or equitable remedies, resulting
24         from the illegal actions of Lyft, Inc. (“Defendant”), in negligently and/or
25         intentionally contacting Plaintiff on Plaintiff’s cellular telephone, in violation of
26         the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”),
27         thereby invading Plaintiff’s privacy. Plaintiff alleges as follows upon personal
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 1         knowledge as to himself and his own acts and experiences, and, as to all other
 2         matters, upon information and belief, including investigation conducted by their
 3         attorneys.
 4   2.    The TCPA was designed to prevent calls like the ones described within this
 5         complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous
 6         consumer complaints about abuses of telephone technology – for example,
 7         computerized calls dispatched to private homes – prompted Congress to pass
 8         the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
 9   3.    In enacting the TCPA, Congress intended to give consumers a choice as to
10         how creditors and telemarketers may call them, and made specific findings
11         that “[t]echnologies that might allow consumers to avoid receiving such calls
12         are not universally available, are costly, are unlikely to be enforced, or place
13         an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11.
14         Toward this end, Congress found that
15
                 [b]anning such automated or prerecorded telephone calls to the
16
                 home, except when the receiving party consents to receiving the
17               call or when such calls are necessary in an emergency situation
                 affecting the health and safety of the consumer, is the only
18
                 effective means of protecting telephone consumers from this
19               nuisance and privacy invasion.
20
21         Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
22         WL 3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings
23         on TCPA’s purpose).
24   4.    Congress also specifically found that “the evidence presented to the Congress
25         indicates that automated or prerecorded calls are a nuisance and an invasion
26         of privacy, regardless of the type of call. . . .” Id. at §§ 12-13. See also, Mims,
27         132 S. Ct. at 744.
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 1                                     JURISDICTION AND VENUE
 2   5.    This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331
 3         because this case arises out of violation of federal law. 47 U.S.C. §227(b);
 4         Mims v. Arrow Fin. Servs. LLC, 132 S. Ct. 740 (2012).
 5   6.    Because Defendant does business within the Southern District of California,
 6         personal jurisdiction is established.
 7   7.    Venue is proper in the United States District Court for the Southern District of
 8         California pursuant to 28 U.S.C. § 1391(b)(1) because Plaintiff resides in the
 9         Southern District of California.
10                                                 PARTIES
11   8.    Plaintiff Patrick Spreter is, and at all times mentioned herein was, a citizen
12         and resident of the State of California.
13   9.    Plaintiff Patrick Spreter is, and at all times mentioned herein was, a “person”
14         as defined by 47 U.S.C. § 153(39).
15   10.   Plaintiff is informed and believe, and thereon allege, that Defendant is, and at
16         all times mentioned herein was, a corporation doing business in California
17         and is a “person,” as defined by 47 U.S.C. § 153(39).
18   11.   Defendant is a Delaware Corporation with its principal place of business in
19         San Francisco, California.
20   12.   Plaintiff is informed and believes, and thereon alleges, that Defendant is a
21         corporation and owner (or frequent user) of one or more of the telephone
22         numbers and/or short codes used by Defendant to make telephone calls to
23         Plaintiff in violation of the TCPA.
24   13.   At all times relevant herein Defendant conducted business in the State of
25         California and within this judicial district.
26                                       FACTUAL ALLEGATIONS
27   14.   Defendant operates an on-demand transportation service and mobile
28         application called “Lyft.”

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 1   15.   Defendant connects available drivers with passengers seeking transportation
 2         through the mobile application platform.
 3   16.   One of the primary ways in which Defendant communicates with drivers
 4         (both prospective and existing), riders, and the public at large is through text
 5         messages to an individual’s mobile telephone.
 6   17.   Defendant uses text messages to recruit potential drivers and communicate
 7         with current drivers and passengers.
 8   18.   Sometime before December 31, 2016, Plaintiff began to fill out a digital
 9         application with Defendant to become a driver for Defendant.
10   19.   Plaintiff did not complete the application or submit the application to
11         Defendant for processing.
12   20.   Thereafter, sometime on or before December 31, 2016, Plaintiff received a
13         text message from Defendant (the “Text Message”).
14   21.   The Text Message encouraged Plaintiff completed his application with
15         Defendant to become a driver. The text message stated:
16
                        Complete your Lyft driver application today to earn big
17
                        on New Year’s Eve, our biggest night of the year. Finish
18                      now: http://lft.to/1TR7PGC
19
20   22.   Plaintiff did not have an established business relationship with Defendant at
21         the time of the Text Message.
22   23.   At no time did Plaintiff provide Defendant prior express consent to be
23         contacted by Defendant.
24                    The Text Message From Defendant Violated the TCPA
25   24.   A text message is “a call” within the meaning of the TCPA. Meyer v. Portfolio
26         Recovery Assocs., LLC, 707 F.3d 1036, 1043 (9th Cir. 2012); see also
27         Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 667 (2016) (“A text message
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 1         to a cellular telephone … qualif[ies] as a ‘call’ within the compass of § 227(b)
 2         (1)(A)(iii).”) (citation omitted).
 3   25.   Upon information an belief, the Text Message was sent using equipment that
 4         had the capacity to store or produce telephone numbers to be called using a
 5         random or sequential number generator, and to dial such numbers, and was
 6         therefore an automatic telephone dialing system (“ATDS”) as defined by 47
 7         U.S.C. § 227(a)(1).
 8   26.   ATDS refers to any equipment that has the “capacity to dial numbers without
 9         human intervention[,]” such as predictive dialers. Griffith v. Consumer
10         Portfolio Serv., Inc., 838 F. Supp. 2d 723, 726 (N.D. Ill. 2011) (citing In re
11         Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18
12         FCC Rcd 14014, 14092, ¶ 132 (2003) (“2003 TCPA Order”)).
13   27.   Upon information and belief, the ATDS used by Defendant has the capacity to
14         store or produce telephone numbers to be called, using a random or sequential
15         number generator.
16   28.   Upon information and belief, the ATDS used by Defendant also has the
17         capacity to, and does, dial telephone numbers stored as a list or in a database
18         without human intervention.
19   29.   Defendant’s Text Message was placed to a telephone number assigned to a
20         cellular telephone service for which Plaintiff incurs a charge for incoming text
21         messages pursuant to 47 U.S.C. § 227(b)(1).
22   30.   Upon information and belief, the Text Message were made to Plaintiff for the
23         purpose of soliciting Plaintiff to use Defendant’s mobile application.
24   31.   The Text Message from Defendant was unwanted by Plaintiff.
25   32.   In 2012, the FCC – the agency tasked with promulgating the implementing
26         regulations of the TCPA – revised its TCPA rules to require prior express
27         written consent before initiating a telephone call “that includes or introduces
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 1         an advertisement or constitutes telemarketing[.]” 47 C.F.R. § 64.1200(a)(2);
 2         In re Joint Petition filed by Dish Network, LLC, 28 FCC Rcd. 6574 (2013).
 3   33.   According to FCC regulations, “prior express consent” must (i) be in writing;
 4         (ii) be signed by the person providing the consent; (iii) specify the telephone
 5         number to which the person is consenting to be called; and (iv) clearly authorize
 6         the calling party to use an ATDS or artificial or pre-recorded voice. See In the
 7         Matter of Rules and Regulations Implementing the TCPA of 1991, FCC Report
 8         and Order, CG Dkt. No. 02-278, ¶ 33 (Feb. 15, 2012) (“2012 TCPA Order”).
 9   34.   The Text Message from Defendant to Plaintiff constituted a call that was not
10         for emergency purposes as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
11   35.   The telephonic communication by Defendant, or its agent(s), violated 47
12         U.S.C. § 227(b)(1).
13   36.   Defendant’s Text Message was willful and knowing, in that Defendant knew
14         it was employing equipment that would send unsolicited promotional text
15         messages to the cellular and wireless telephone numbers.
16   37.   “Willful … means that the violator knew that he was doing the act in
17         question. … A violator need not know that his action or inaction constitutes a
18         violation; ignorance of the law is not a defense or mitigating circumstance.”
19         In re Dynasty Mtg., L.L.C., 22 FCC Rcd. 9453, 9470 n. 86 (May 14, 2007)
20         (citations omitted).
21   38.   Through Defendant’s aforementioned conduct, Plaintiff suffered an invasion
22         of a legally protected interest in privacy, which is specifically addressed and
23         protected by the TCPA.
24   39.   Plaintiff was personally affected by Defendant’s aforementioned conduct
25         because Plaintiff was frustrated and distressed that Defendant interrupted
26         Plaintiff with an unwanted text messages using an ATDS.
27   40.   Defendant’s text messages occupied Plaintiff’s cellular telephone with an
28         unwanted Text Message, causing a nuisance and lost time.

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 1   41.   Defendant’s text message to Plaintiff’s cellular telephone number was
 2         unsolicited by Plaintiff and without Plaintiff’s permission or consent.
 3   42.   Plaintiff is informed and believes and here upon alleges, that the text message
 4         was made by Defendant and/or Defendant’s agent(s), with Defendant’s
 5         permission, knowledge, control and for Defendant’s benefit.
 6   43.   The FCC’s rulings regarding the TCPA's vicarious liability standards as it
 7         relates to telemarketing provide, “[c]alls placed by an agent of the
 8         telemarketer are treated as if the telemarketer itself placed the call.” In re
 9         Rules and Regulations Implementing the TCPA of 1991, 10 FCC Rcd. 12391,
10         12397 (1995).
11   44.   Defendant is therefore liable to Plaintiff through the Doctrine of Respondeat
12         Superior for the intentional and negligent acts, errors, and omissions done in
13         violation of federal law, including, but not limited to violations of the TCPA.
14   45.   Through the aforementioned conduct, Defendant has violated 47 U.S.C. §
15         227(b)(1)(A)(iii).
16   46.   Further, Defendant’s violations also cause Plaintiff to suffer a real and
17         concrete harm because Plaintiff’s time was wasted on text messages with
18         Defendant when Defendant had no right to contact Plaintiff. Defendant also
19         consumed and wasted Plaintiff’s cellphone battery life. Plaintiff also suffered
20         from frustration and annoyance which the TCPA was enacted to prevent. See,
21         e.g., Mey v. Got Warranty, Inc., No. 5:15-CV-101, 2016 U.S. Dist. LEXIS
22         84972, at *8 (N.D.W. Va. June 30, 2016) (“[S]uch calls also cause intangible
23         injuries, regardless of whether the consumer has a prepaid cell phone or a
24         plan with a limited number of minutes. The main types of intangible harm that
25         unlawful calls cause are (1) invasion of privacy, (2) intrusion upon and
26         occupation of the capacity of the consumer’s cell phone, and (3) wasting the
27         consumer’s time or causing the risk of personal injury due to interruption and
28         distraction.”).

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 1                                                STANDING
 2   47.   Standing is proper under Article III of the Constitution of the United States of
 3         America because Plaintiff’s claims state:
 4         a.     a valid injury in fact;
 5         b.     which is traceable to the conduct of Defendant;
 6         c.     and is likely to be redressed by a favorable judicial decision.
 7   48.   See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), and Lujan v.
 8         Defenders of Wildlife, 504 U.S. 555, 560 (1992).
 9   49.   In order to meet the standard laid out in Spokeo and Lujan, Plaintiff must
10         clearly allege facts demonstrating all three prongs above.
11                                        The “Injury in Fact” Prong
12   50.   Plaintiff’s injury in fact must be both “concrete” and “particularized” in order
13         to satisfy the requirements of Article III of the Constitution, as laid out in
14         Spokeo (Id.).
15   51.   For an injury to be “concrete” it must be a de facto injury, meaning that it
16         actually exists. In the present case, Plaintiff was called on Plaintiff’s cellular
17         phone by Defendant. Such calls are a nuisance, an invasion of privacy, and an
18         expense to Plaintiff. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,
19         638 (7th Cir. 2012). All three of these injuries are concrete and de facto.
20   52.   For an injury to be “particularized” means that the injury must “affect the
21         plaintiff in a personal and individual way.” Spokeo, 136 S. Ct. at 1548. In the
22         instant case, it was Plaintiff’s phone that was called and it was Plaintiff who
23         answered the calls. It was Plaintiff’s personal privacy and peace that was
24         invaded by Defendant’s persistent phone calls using an ATDS. Finally,
25         Plaintiff alone is responsible to pay the bill on Plaintiff’s cellular phone.
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 1                        The “Traceable to the Conduct of Defendant” Prong
 2   53.   The second prong required to establish standing at the pleadings phase is that
 3         Plaintiff must allege facts to show that Plaintiff’s injury is traceable to the
 4         conduct of Defendant.
 5   54.   In the instant case, this prong is met simply by the fact that the calls to
 6         Plaintiff’s cellular phone were placed either, by Defendant directly, or by
 7         Defendant’s agent at the direction of Defendant.
 8          The “Injury is Likely to be Redressed by a Favorable Judicial Opinion” Prong
 9   55.   The third prong to establish standing at the pleadings phase requires Plaintiff
10         to allege facts to show that the injury is likely to be redressed by a favorable
11         judicial opinion.
12   56.   In the present case, Plaintiff’s Prayers for Relief include a request for
13         damages for each call made by Defendant, as authorized by statute in 47
14         U.S.C. § 227. The statutory damages were set by Congress and specifically
15         redress the financial damages suffered by Plaintiff.
16   57.   Furthermore, Plaintiff’s Prayers for Relief request injunctive relief to restrain
17         Defendant from the alleged abusive practices in the future. The award of
18         monetary damages and the order for injunctive relief redress the injuries of
19         the past, and prevent further injury in the future.
20   58.   Because all standing requirements of Article III of the U.S. Constitution have
21         been met, as laid out in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016),
22         Plaintiff has standing to sue Defendant on the stated claims.
23                                   CLASS ACTION ALLEGATIONS
24   59.   Plaintiff brings this action on behalf of himself and on behalf of all others
25         similarly situated (the “Class”).
26   60.   Plaintiff represents, and is a member of the Class, consisting of:
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                  All persons within the United States who started an application
 1
                  to become a driver for Defendant but did complete an
 2                application to become a driver or otherwise become a driver for
                  Defendant, who used or subscribed to a wireless or cellular
 3
                  service, and to whom Defendant, or their agent/s and/or
 4                employee/s, sent at least one text message to the person’s
                  cellular telephone made through the use of any automatic
 5
                  telephone dialing system, not for emergency purposes, within
 6                the four years prior to the filing of this Complaint.
 7    61.   Excluded from the above-defined Class is Defendant, any entity in which
 8          Defendant has a controlling interest, Defendant’s officers, directors, and
 9          employees, Defendant's counsel, any persons or entities who have previously
10          settled a TCPA claim with Defendant, the Court and Court personnel, and
11          Plaintiff’s counsel.
12    62.   Plaintiff does not know the number of members in the Class, but believes the
13          Class members number in the several thousands, if not more. Thus, this
14          matter should be certified as a class action to assist in the expeditious
15          litigation of this matter.
16    63.   Plaintiff and members of the Class were harmed by the acts of Defendant that
17          Defendant, either directly or through its agents, illegally contacted Plaintiff
18          and the Class members via their cellular telephones by using an ATDS,
19          thereby causing Plaintiff and the Class members to incur certain cellular
20          telephone charges or reduced cellular telephone data for which Plaintiff and
21          the Class members previously paid, and invading the privacy of Plaintiff and
22          the Class members. Plaintiff and the Class members were thereby damaged.
23    64.   This suit seeks only damages and injunctive relief for recovery of economic
24          injury on behalf of the Class, and it expressly is not intended to request any
25          recovery for personal injury and claims related thereto. Plaintiff reserves the
26          right to expand the Class definition to seek recovery on behalf of additional
27          persons as warranted as facts are learned in further investigation and discovery.
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 1    65.   The joinder of the class members is impractical and the disposition of their
 2          claims in the Class will provide substantial benefits both to the parties and to
 3          the court. The Class can be identified through Defendant’s records or
 4          Defendant’s agents’ records.
 5    66.   There is a well-defined community of interest in the questions of law and fact
 6          involved affecting the parties to be represented. The questions of law and fact
 7          to the Class predominate over questions which may affect individual class
 8          members, including the following:
 9            a)     Whether, within the four years prior to the filing of this Complaint,
10                   Defendant or its agents initiated any telephonic communications
11                   (other than a message made for emergency purposes) using any
12                   automatic dialing system to any telephone number assigned to a
13                   cellular telephone service;
14            b)     Whether Defendant can meet its burden of showing Defendant
15                   obtained prior express written consent;
16            c)     Whether Defendant’s conduct was knowing and/or willful;
17            d)     Whether Plaintiff and the Class members were damaged thereby, and
18                   the extent of damages for such violation; and
19            e)     Whether Defendant and/or its agent/s should be enjoined from
20                   engaging in such conduct in the future.
21    67.   As persons that received at least one telephonic communication from
22          Defendant’s ATDS without Plaintiff’s prior express written consent, Plaintiff
23          is asserting claims that are typical of the Class. Plaintiff will fairly and
24          adequately represent and protect the interests of the Class in that Plaintiff has
25          no interests antagonistic to any member of the Class.
26    68.   Plaintiff and the members of the Class have all suffered irreparable harm as a
27          result of Defendant’s unlawful and wrongful conduct. Absent a class action,
28          the Class will continue to face the potential for irreparable harm. In addition,

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 1          these violations of law will be allowed to proceed without remedy and
 2          Defendant will likely continue such illegal conduct. Because of the size of the
 3          individual Class members’ claims, few, if any, Class members could afford to
 4          seek legal redress for the wrongs complained of herein.
 5    69.   Plaintiff has retained counsel experienced in handling class action claims and
 6          claims involving violations of the TCPA.
 7    70.   A class action is a superior method for the fair and efficient adjudication of
 8          this controversy. Class-wide damages are essential to induce Defendant to
 9          comply with federal law. The interest of Class members in individually
10          controlling the prosecution of separate claims against Defendant is small
11          because the maximum statutory damages in an individual action for violation
12          of privacy are minimal. Management of these claims is likely to present
13          significantly fewer difficulties than those presented in many claims.
14    71.   Defendant has acted on grounds generally applicable to the Class, thereby
15          making appropriate final injunctive relief and corresponding declaratory relief
16          with respect to the Class as a whole.
17                                           CAUSES OF ACTION
18                       COUNT I: NEGLIGENT VIOLATIONS OF THE TCPA
19                                       47 U.S.C. §§ 227 ET SEQ.
20    72.   Plaintiff incorporates by reference all of the above paragraphs of this
21          Complaint as though fully stated herein.
22    73.   The foregoing acts and omissions of Defendant constitute numerous and
23          multiple negligent violations of the TCPA, including but not limited to each
24          and every one of the above-cited provisions of 47 U.S.C. § 227, et seq, but
25          particularly 47 U.S.C. § 227(b)(1)(A)(iii).
26    74.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
27          Plaintiff and the Class are entitled to an award of $500.00 in statutory
28          damages, for each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B).

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 1    75.   Plaintiff and the Class are also entitled to and seek injunctive relief
 2          prohibiting such conduct in the future.
 3            COUNT II: KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
 4                                       47 U.S.C. §§ 227 ET SEQ.
 5    76.   Plaintiff incorporates by reference all of the above paragraphs of this
 6          Complaint as though fully stated herein.
 7    77.   The foregoing acts and omissions of Defendant constitute numerous and
 8          multiple knowing and/or willful violations of the TCPA, including but not
 9          limited to each and every one of the above-cited provisions of 47 U.S.C. §
10          227 et seq, but particularly 47 U.S.C. § 227(b)(1)(A)(iii).
11    78.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
12          227 et seq, Plaintiff and the Class are entitled to an award of $1,500.00 in
13          statutory damages, for each and every violation, pursuant to 47 U.S.C. §
14          227(b)(3)(C).
15    79.   Plaintiff and the Class are also entitled to and seek injunctive relief
16          prohibiting such conduct in the future.
17                                          PRAYER FOR RELIEF
18           WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and
19    the Class members the following relief against Defendant:
20             •     Certify the Class as requested herein;
21             •     Appoint Plaintiff to serve as Class Representative in this matter;
22             •     Appoint Plaintiff’s Counsel as Class Counsel in this matter;
23             •     Provide such further relief against Defendant as may be just and proper.
24    In addition, Plaintiff and the Class members pray for further judgment as follows
25    against Defendant:
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 1                       COUNT I: NEGLIGENT VIOLATIONS OF THE TCPA
 2                                       47 U.S.C. §§ 227 ET SEQ.
 3    80.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
 4          Plaintiff seeks for himself and each Class member $500.00 in statutory
 5          damages, for each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B).
 6    81.   Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
 7          conduct in the future.
 8    82.   Any other relief the Court may deem just and proper.
 9            COUNT II: KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
10                                       47 U.S.C. §§ 227 ET SEQ.
11    83.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227(b)
12          (1), Plaintiff seeks for himself and each Class member $1,500.00 in statutory
13          damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
14    84.   Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
15          conduct in the future.
16    85.   Any other relief the Court may deem just and proper.
17                                             TRIAL BY JURY
18    86.   Pursuant to the seventh amendment to the Constitution of the United States of
19          America, Plaintiff is entitled to, and demand, a trial by jury.
20                                                               HYDE & SWIGART
21
      Date: March 15, 2018                               By:/s/ Joshua B. Swigart
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